          Case 3:08-cv-05501-RBL Document 9 Filed 09/04/08 Page 1 of 2



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September3, 2008
                                                      HonorabtreJudge Ronald B. kighton

United States District Court for the Wegtern Dietrict of Washinstou
1717PacificAvenue,noom 3100
Tacoma,WA 98402'3200
                     .RBL
CaseNo.; 3:08'cv-0560f

Subj: Notice To The Court of Plaintiffs Offer To Settle Early ReduceCoets

Dear Judge Leighton:

This letter informs the court that Plaintitr has extended to coulsel for each
Defendant having appeared in ihis civil rights action au offer to settle early this
natter aad avoid unnecessarycost€of discovery and litigation.

The defendants aad their couueel of recoral were aleo reminded of this court's
guidance to settle early to avoid serious conaequencesthat include saDctionsand
attoEey fi scipliEeproceedings.




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Copyto:

(D Mark Jobsonl; Aseistant Attorney General; Stat€ of Washington, Torts Division;
7141ClearwaterDrive SW; PO Box 40126;Olyapia, WA 98504-0126;       (360)586-
6300

€) Law, L''man, Daniel,Kamerrer & Bogdanovich,P.S.z;AttorneysAt Law; 2674

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PatIol.
, RepreeeotingdefendantsBattle Ground PoliceDepartment; City Council for the City of Battle
           Case 3:08-cv-05501-RBL Document 9 Filed 09/04/08 Page 2 of 2



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(3) Davis Wright Tremaine LLP3; Law Offices; 1201Third Avelue, Suit€ 2200;
Seattle,Waahington98101.3045;  (206)622-3160;Fax; 006) 757-'l'100




Ground; Doe One Battl€ Gmund PoliceArreeting Officer, May I, 2006;Doe T'woBattle Ground
PoliceArresting Ofrc€r, Mey 1, 2006;Doe Three Battle Ground PoliceAEestiDg Ofrcer, June 13,
2U)6; and Doe Four Bsttle Ground PoliceArreeting O6cer, June 13, 2006.
I R€presentingdefendant€The AssociratedPless and CasperSter-Ilibune.
